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                                                                                           United States District Court
                                                                                             Southern District of Texas

                                                                                                ENTERED
                                UNITED STATES DISTRICT COURT                                  August 13, 2020
                                 SOUTHERN DISTRICT OF TEXAS                                  David J. Bradley, Clerk

                                     HOUSTON DIVISION

LADDY CURTIS VALENTINE and                §
RICHARD ELVIN KING, individually and      §
on behalf of those similarly situated,    §
Plaintiffs,                               §
                                          §
v.                                        § Civil Action No. 4:20-cv-01115
                                          §
BRYAN COLLIER, in his official capacity,  §
ROBERT HERRERA, in his official capacity, §
And TEXAS DEPARTMENT OF CRIMINAL §
JUSTICE,                                  §
Defendants.                               §

                                              ORDER

       On this day, came to be heard Defendants’ Unopposed Emergency Motion for

Reconsideration and any response thereto. Having considered the motion, response and argument

of the parties, the Court is of the opinion that the motion has merit. Therefore, it is:

       ORDERED that Defendants’ Unopposed Emergency Motion for Reconsideration is

GRANTED in its entirety. It is further

       ORDERED that R3 shall produce to Defendants only, the thumbnail images described in

paragraph 7C of the Protocol for Defendants’ review for confidential and privileged information in

accordance with Paragraph 8 of the Protocol. It is further

       ORDERED that Defendants have 24 hours to review and redact sensitive and

confidential material within the photo thumbnails before they are produced to Plaintiffs.

         SIGNED this 13th day of August, 2020.


                                                       ____________________________________
                                                       THE HONORABLE KEITH ELLISON
                                                       UNITED STATES DISTRICT JUDGE
